                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

UNITED STATES OF AMERICA                       )
                                               )
       v.                                      )       No. 3:11-00012
                                               )       Judge Sharp
ALTO PARNELL [11]                              )

                                               ORDER

       Defendant Alto Parnell [22] has filed a Motion in Limine to Exclude any Testimony

Regarding His Alleged Gang Affiliation and Associated Alias or Nickname (Docket No. 1651),

claiming that the prejudicial effect of this information far outweighs its probative value. In support

of his position, Defendant relies exclusively on United States v. Sargent, 98 F.d 325, 328 (7th Cir.

1996) wherein the Seventh Circuit stated that “[e]vidence of gang membership can taint a defendant

in the eyes of the jury,” and “[t]his circuit is cognizant of the insidious quality of such evidence and

the damage it can do.”

       The suggestion that evidence of gang involvement is per se improper is incorrect, as Sargent

itself makes clear. Immediately following the above-quoted language, the Seventh Circuit wrote:

“This is not to say that gang membership is never relevant in the criminal trial. Indeed, gang

membership can be key to establishing criminal intent or agreement to conspire.” Id. More

importantly, the Sixth Circuit “has held that evidence of gang affiliation is admissible to establish

the defendant’s opportunity to commit a crime, . . . or where the interrelationship between people

is a central issue in the case, . . . but is inadmissible if there is no connection between the gang

evidence and the charged offense.” United States v. Anderson, 333 Fed. App’x 18, 23 (6th Cir. 2009)

(collecting cases).

       Defendant’s Motion in Limine (Docket No. 1651) is hereby DENIED, with the

understanding that, if the Government intends to introduce any evidence of gang affiliation and/or


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gang membership, it will have a legitimate and recognized basis for doing so. Defendant’s Motion

to Strike Docket Entry Number 1648 (Docket No. 1654) because it is a duplicate filing of his Motion

in Limine Regarding Gang Affiliation is GRANTED.

       It is SO ORDERED.



                                                     ____________________________________
                                                     KEVIN H. SHARP
                                                     UNITED STATES DISTRICT JUDGE




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